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                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF COLUMBIA


          UNITED STATES OF AMERICA,

                              Plainti s)
                                                               )
          Vs.                                                          Case Number:    23-cr-239 (CKK)
           ILYA LICHTENSTEIN, et. al.,
                             Defendant(s)


                                      DECLARATION FOR PRO HAC VICE ADMISSION
                                     (to be attached to Motion for Pro Hac Vice Admission)


                   In accordance with LCVR 832 (cX(2) and LCVR 44.1 (c)(2), I hereby declare that
          the answers to the following questions are complete, true, and correct:

          1. Full Name:      Shailee Diwanji Sharma

          2. Statebar membership number: MA - 687705; NY -5292206
          3.    Business address, telephone and fax numbers:

                Jenner & Block LLP, 1155 Avenue of the Americas, NY, NY 10036, Tel. 212-407-1758, Fax 212-891-1699

          4. List all state and federal courts or bar associations in which you are a member in good standing"
             to practice law:

                US Supreme Court;, US Court of Appeals, Second Circuit; USDC, MA, USDC EDNY; USDC SDNY

          5.    Have you been denicd admission, disbarred, suspended from practice, reprimanded, denied "in
                good standing" status, or otherwise disciplined by any court, bar association, grievance committee
                or administrativebody? Yes               No

          6.    Have any proceedings which could lead to any such disciplinary action been instituted against you

                in anysuchbodies?     Yes           No
                (Please attach a statement explaining any "Yes" answers to questions 5 or 6.)

          7.    List the number of times the attorney hasbeen admitted pro hac vice into this court within the last

                two years. Zero
                (If your principal of ce is located in the District of Columbia, pleaseanswer questions 8 and 9.)

          8.    Are you a member of the DC Bar? No

          9.    Do you have a pending application for admission into USDC for the District of Columbia? No
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             In compliance with Local Rule 83.2(b) or LCrR 44.1(b), an attorney who wishes to appear as sole or
     lead counsel in a contested evidentiary hearing or trial on the merits further certi es that he/she:

                                               (CHECK ALL ITEMS THAT APPLY)

       1.         has previously acted as sole or lead counsel in a federal district court or the Superior Court of the District of
                  Columbia or state trial court of general jurisdiction in a contested jury or bench trial or other contested
                  evidentiary hearing in which testimony was taken in open court and an order or other appealable judgment was
                  entered. [LCVR 83.2(6)(1)/LCER 44.1(b)(1)); OR

        2         has participated in a junior capacity in an entire contested jury or bench trial in a federal district court or the
                  Superior Court of the District of Columbia or a state trial court of general jurisdiction. [LCVR 83.2(b)(2)/LCrR
                  44.1)(21 OR


                  has satisfactorily completed a continuing legal education trial advocacy course of at least 30 hours sponsored
        3.
                  by the District of Columbia Bar or accredited by a State Ba. [LCVR 83.2(6)(3)/LCrR 44.1(b)(3))




             I declare under penalty of perjury that the foregoing is true and correct.

             March 20, 2025
                                                                                 Ahaesdharma
                                                                                   SIGNATURE OF ATTORNEY
                  DATE




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